        Case 1:23-cv-03720-SCJ Document 7 Filed 09/07/23 Page 1 of 29




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

THE STATE OF GEORGIA,                         )
                                              )     CIVIL ACTION NO.
                                              )     1:23-CV-03720-SCJ
                                              )
v.                                            )
                                              )     RE: NOTICE OF REMOVAL
                                              )     OF FULTON COUNTY
                                              )     SUPERIOR COURT
DAVID JAMES SHAFER,                           )     INDICTMENT NO.
                                              )     23SC188947
      Defendant.                              )

       STATE OF GEORGIA’S RESPONSE IN OPPOSITION TO
     TO DEFENDANT DAVID J. SHAFER’S NOTICE OF REMOVAL

                        FANI T. WILLIS                          Anna Green Cross
                DISTRICT ATTORNEY                               Special Prosecutor
      ATLANTA JUDICIAL CIRCUIT                              Atlanta Judicial Circuit
                  F. McDonald Wakeford                    Georgia Bar No. 306674
   Chief Senior Assistant District Attorney       136 Pryor Street SW, Third Floor
                   Atlanta Judicial Circuit                Atlanta, Georgia 30303
                 Georgia Bar No. 414898                   anna@crosskincaid.com
         136 Pryor Street SW, Third Floor
                  Atlanta, Georgia 30303
 Fmcdonald.wakeford@fultoncountyga.gov
         Case 1:23-cv-03720-SCJ Document 7 Filed 09/07/23 Page 2 of 29




      Defendant David J. Shafer joins several co-defendants in advancing an

unconvincing theory of federal official removal that would permit the removal of

the pending State criminal prosecution charging him with multiple felony offenses

in Fulton County Superior Court to this Court. Generally, 28 U.S.C. § 1442(a) is

available to federal officials or those acting at the direction of a federal official

carrying out a federal function—Defendant Shafer meets neither of these

conditions. Instead, Defendant and others falsely impersonated genuine “duly

elected and qualified” electors at the direction of the losing Trump presidential

campaign—actions in furtherance of a criminal conspiracy that resulted, in part, in

the pending Fulton County indictment—and Defendant asserts no coherent theory

on how his false representations confer federal officer status. Because he fails to

meet the Section 1442(a) test for removal, the State of Georgia respectfully

requests that this Court decline to authorize removal in this case.

   I. FACTUAL AND PROCEDURAL BACKGROUND

      A. The Election and Certification of Presidential Electors

      On Tuesday, November 3, 2020, the State of Georgia joined the rest of the

United States in holding an election for—among other federal, state, and local

offices—the President of the United States. As chief election official, the task fell

to Georgia Secretary of State Brad Raffensperger to certify the votes cast for all


                                            1
        Case 1:23-cv-03720-SCJ Document 7 Filed 09/07/23 Page 3 of 29




presidential candidates “not later than 5:00 P.M. on the seventeenth day following

the date on which such election was conducted.” O.C.G.A. §§ 21-2-50(b), 20-2-

499(b). Georgia law further requires that the Governor “certify the slates of

presidential electors receiving the highest number of votes . . . no later than 5:00

P.M. on the eighteenth day following the date on which such election was

conducted.” O.C.G.A. § 20-2-499(b). Both Governor Kemp and Secretary

Raffensperger performed these duties in a timely manner, with Governor Kemp

certifying on November 20, 2020 that the Democratic slate of electors had

prevailed and appointing that group as the official Georgia slate of presidential

electors. Ex. 1 (Nov. 20, 2020 Certification). This certification came after both

(1) the initial counting of ballots, and (2) a statewide hand count ordered by the

Secretary of State revealed that President Biden had prevailed by more than ten

thousand votes.

      The Trump campaign requested a recount as contemplated by O.C.G.A.

§ 21-2-495(c)(1) (permitting recount where the margin of victory is less than one-

half of one percent). The results of that recount, the third counting of ballots for

Georgia’s presidential election, demonstrated a final margin of 11,779 votes in

favor of Biden. Ex. 2 (Secretary of State Certification of Recount). Governor

Kemp again certified the results on December 7, 2020, alerting the National


                                           2
        Case 1:23-cv-03720-SCJ Document 7 Filed 09/07/23 Page 4 of 29




Archives and Records Administration that the State of Georgia had appointed the

Democratic slate Electors of the President and Vice President for the State of

Georgia. Ex. 3 (December 7, 2020 Certification).

      B. The Fraudulent Elector Scheme

      Defendant and the other nominated electors representing the losing Trump

campaign opted to pretend otherwise. Despite the now obvious and repeatedly

confirmed fact that then-President Trump had lost the presidential election in

Georgia, and consequently that the Republican-nominated slate of electors were

not appointed by the State of Georgia to vote in the Electoral College proceeding,

the group mimicked the actions of the genuine Democratic slate of electors by

meeting on December 14, 2020 at the State Capital. [Doc. 1], 5 (Defendant

acknowledging the group met at the Capital building). Defendant presented

himself as the presiding officer of the gathering, falsely certifying that the group

were the “duly elected and qualified Electors for President and Vice President of

the United States from the State of Georgia,” and purporting to give Georgia’s 16

Electoral College votes to Trump:




                                           3
        Case 1:23-cv-03720-SCJ Document 7 Filed 09/07/23 Page 5 of 29




Ex. 4 (Fraudulent Elector Certificate).

      Shafer repeatedly refers to himself and the fellow nominee electors as

“contingent,” despite no such qualification included in the certificate. Compare id.

with [Doc. 1], 5. “Contingent electors,” of course, are not presidential electors at

all, and Defendant directs this Court to no relevant legal authority that would

substantiate the argument that the losing candidate’s nominees have any

recognized status after the counting is complete and results are certified. Either the

contingency is met, and the “contingent electors” become actual presidential

electors upon the electoral victory of their presidential candidate, or—as was the

case here—the contingency never arises and the losing candidate’s slate of electors

plays no further role.




                                          4
        Case 1:23-cv-03720-SCJ Document 7 Filed 09/07/23 Page 6 of 29




      Of course, this group of sham electors was anything but duly elected or

qualified. Nevertheless, Defendant then caused the false certificates to be sent to

the President of the Senate, the Archives of the United States, the Georgia

Secretary of State, and the Chief Judge of the Northern District of Georgia, as

would be appropriate if the false slate of electors had been genuine. Id. As alleged

in the indictment, Defendant and his co-defendants conspired to subvert the

electoral process. [Doc. 1-1], 30-32 (detailing scheme to have Trump elector

nominees attempt to cast electoral votes in Georgia, Arizona, Michigan, Nevada,

Pennsylvania, and Wisconsin, despite Trump’s loss in each of those states).

       As a result of these actions, Defendant and several co-defendants face

charges brought in Fulton County Superior Court related to the scheme, including

Violation of the Georgia RICO Act (O.C.G.A. §16-14-4), Impersonating a Public

Officer (O.C.G.A. § 16-10-23), two counts of Forgery in the First Degree

(O.C.G.A. § 16-9-1), three counts of False Statements (O.C.G.A. § 16-10-20), and

Criminal Attempt to File False Documents (O.C.G.A. § 16-4-1 and 16-10-20.1).

[Doc. 1-1] (Cts. 1, 8, 10, 12, 14, 16, 18, 40). It is this pending criminal action that

Defendant Shafer seeks to have removed to this Court.

      C. Defendant Has Produced No Evidence That He Held Federal Office,
         Or That He Acted At The Direction Of Any Federal Official



                                           5
        Case 1:23-cv-03720-SCJ Document 7 Filed 09/07/23 Page 7 of 29




      In December 2020, at the time of the acts alleged in the Indictment,

Defendant was a private citizen with no federal employment or title. Despite that,

Defendant insists to this Court that he was in fact a “federal official” within the

meaning of 28 U.S.C. § 1442(a)(1) (providing for federal jurisdiction over “any

officer (or any person acting under that officer) of the United States” for or relating

to “any act under color of such office” ), or alternatively, that he was “acting

under” a federal official (namely, then-President Trump). [Doc. 1], 19 (claiming

Defendant “acted at the direction of the incumbent President and other federal

officials,” but detailing only communication with attorneys for Trump campaign

litigation). Defendant ignores the inconvenient facts that undercut his theory,

including:

          • Shafer and the other Republican nominees were not genuine
            presidential electors, they were impersonating presidential electors
            by signing a certificate stating they were duly elected and certified
            when they had not been;

          • Governor Kemp had certified on December 7, 2020, that the
            Democratic slate of presidential electors would represent Georgia,
            with Republican nominees having no role in the counting of
            presidential electors;

          • By December 14, 2020, there was no recount pending in Georgia nor
            was there any legal vehicle that could have potentially resulted in the




                                           6
        Case 1:23-cv-03720-SCJ Document 7 Filed 09/07/23 Page 8 of 29




              “flipping” of Democratic presidential electors to be substituted with
              the Republican presidential nominees1;

          • Defendant’s own assertion is that he acted pursuant to advice from
            legal counsel representing Trump and Shafer himself in the election
            litigation, and for the purpose of preserving the challenge to the
            election results, not any true federal function, [Doc. 1], 19;

          • Defendant makes no representation that he had direct contact with any
            federal official, going no further than to allege he took the advice of
            attorneys and operatives representing the Trump campaign and his
            own attorneys in the election contest filed in Fulton County. Id.

Defendant simply has not supported his assertion of “federal official” status with

facts that would enable this Court to reach that conclusion.

    II. ARGUMENT

      Defendant seeks to remove his pending criminal case under Section 1455, on

the basis that, at the time he engaged in the conduct described in the indictment

related to the fraudulent elector scheme, he was a “federal officer” under 28 U.S.C.

§ 1442(a)(1). Shafer, of course, can make no such showing. Federal officer

removal is limited to (1) any officer, agent, or agency of the United States (2) “for



1      Even if the Trump campaign’s election contest filed in Fulton County Superior Court on
or about December 4, 2020 had been successful (which it could not have been, due to glaring
procedural and substantive deficiencies; those plaintiffs ultimately voluntarily dismissed the
case), the only lawful remedy that could be imposed by a court is a new election, not the
“flipping” of one slate of electors for another. See O.C.G.A. § 21-2-527(d) (authorizing setting
aside an election shown to be defective as to place in doubt the result, and permitting a second
election).



                                               7
         Case 1:23-cv-03720-SCJ Document 7 Filed 09/07/23 Page 9 of 29




[or relating to] any act under color of such office” so long as they can (3) “raise a

colorable defense arising out of its duty to enforce federal law.” Florida v. Cohen,

887 F.2d 1451, 1454-55 (11th Cir. 1989). The removing party bears the burden of

demonstrating that removal is proper, and if the non-removing party “appropriately

challenges” the facts presented in the notice of removal, the removing party “must

support [its factual averments] by competent proof.” People v. Trump, 2023 U.S.

Dist. LEXIS 124733, *15 (S.D.N.Y. 19 July 2023) (citations omitted).

      Here, Defendant cannot satisfy any of the three criteria. He is woefully short

of asserting sufficient facts to meet the first prong—Shafer and the other fraudulent

electors were not acting as, or at the direction of, federal officials in any legally

recognized understanding of that role. Moreover, even legitimate presidential

electors serve as agents of the individual States, not as federal officials entitled to

28 U.S.C. § 1442(a)(1) removal. See Ray v. Blair, 343 U.S. 214, 224-25 (1952)

(presidential electors are agents of the States, not federal officers or agents).

Finally, Shafer’s explanation that he accepted advice from a Trump campaign

attorney is not the Section 1442 equivalent of taking direction from a federal

official within the scope of that official’s role—at best, he and the other fraudulent

electors followed the lead of the Trump campaign and from State Republican party




                                            8
        Case 1:23-cv-03720-SCJ Document 7 Filed 09/07/23 Page 10 of 29




attorneys to further the campaign’s litigation and goals, not any federal function,

and which, in any event, fall far outside the scope of removable activity.

      Shafer’s failure to overcome the first “federal official” hurdle ends the

inquiry. City of Brunswick v. Honeywell Int’l, Inc., No. CV 222-132, 2023 U.S.

Dist. LEXIS 155502, at *11 (S.D. Ga. Sep. 1, 2023) (after determining Defendant

failed to satisfy that they were acting under direction of a federal officer, “the

Court does not address whether Defendants satisfy the second and third prong, and

the Court finds the federal officer removal statute does not apply”). But even

should this Court consider the remaining prongs, Defendant fails to meet his

burden. Impersonating certified presidential electors in service to a political

campaign cannot be seriously within the scope of any federal role, and Defendant

gives the legal analysis on that point cursory treatment. [Doc. 1], 21-22 (“The

connection between [the charged] conduct alleged in the Fulton County Indictment

and Mr. Shafer’s action as a contingent Presidential Elector is clear.”). None of the

alleged crimes charged in the Indictment fall within the range of any federal

official duties, least of all for Defendant acting in furtherance of a political ally’s

purely campaign-related goals. “[T]he long-recognized purpose of federal-officer

removal is the protection of federal authority[—t]here is no federal authority to

protect here.” State v. Meade, 2022 U.S. Dist. LEXIS 28535, *18 (S.D. Ohio Feb.


                                            9
        Case 1:23-cv-03720-SCJ Document 7 Filed 09/07/23 Page 11 of 29




17, 2022) (emphasis in original) (citing Tennessee v. Davis, 100 U.S. 257, 263

(1880)).

      Similarly, Defendant’s proffered federal defenses of Supremacy Clause

immunity, Preemption, First Amendment and Due Process defenses, are creative

but find no support in the law, instead stating declarations of applicability without

legal or factual backing. [Doc. 1], 25-30. Even less convincing is his demand for

habeas relief seeking to enjoin the state prosecution, an injunctive remedy this

Court has already declined to order for co-Defendants Meadows and Clark for

reasons that apply equally if not more strongly here. In short, Shafer’s demands

fail on every level.

      A. Defendant Shafer Is Not A Federal Official Within The Meaning Of
         Section 1442(a).

      To repeat the governing standard that is now well-known to this Court,

Section 1442(a) authorizes a defendant to move a state criminal prosecution to

federal court if the defendant is:

       [A]ny officer (or any person acting under that officer) of the United States or
      of any agency thereof, in an official or individual capacity, for or relating to
      any act under color of such office . . . .

28 U.S.C. § 1442(a)(1); see also Hurt-Whitmire v. Georgia, 336 F. App’x 882

(11th Cir. 2009). Section 1442 applicability is not unlimited, and Defendant’s

impersonation of a presidential elector to further a conspiracy to overturn the 2020

                                          10
        Case 1:23-cv-03720-SCJ Document 7 Filed 09/07/23 Page 12 of 29




presidential election, unsurprisingly, falls far outside its scope.

      1. Defendant derives no federal officer status by impersonating a
         presidential elector.

      Defendant’s entire theory—that by virtue of his role as a “contingent”

presidential elector, he took on the role of a federal officer entitled to Section

1442(a) removal—finds no support in the facts or the law. Defendant was never a

recognized presidential elector with any role to fulfill, federal or otherwise.

      By the time Defendant and the other losing Republican elector nominees

met, Governor Kemp had twice certified the Democratic slate of presidential

electors; there was no valid means by which the group could have been “duly

elected and qualified,” as the document represented, when the Democratic slate

had already filled that role and there was no legal mechanism for a slate of electors

to be “flipped” to the losing candidate. Compare Ex. 4 (Fraudulent Elector

Certificate) with Ex. 3 (Dec. 7, 2020 Certification); see also O.C.G.A. § 21-2-

527(d) (remedy for an election contest is setting aside an election shown to be

defective, and scheduling a second election). Defendant confuses his fiction with

the truth, and demands this Court do the same; he impersonated a “presidential

elector,” and based on nothing more than that pretense, he insists on legal

recognition of that status. His position is the equivalent of claiming that a




                                           11
         Case 1:23-cv-03720-SCJ Document 7 Filed 09/07/23 Page 13 of 29




homemade badge could transform him into a genuine United States Marshal with

all the powers afforded that role.

       Moreover, Defendant’s own representations to the Court undermine his

argument that he believed he was a true presidential elector—he acted in

compliance with the directives of the State party, of which he was Chairman, and

Trump campaign legal counsel “to preserve the presidential election contest” in

which Defendant was also a plaintiff. [Doc. 1], 19. Advancing the election

contest, on behalf of yourself or a political ally, serves no federal function and

provides no basis to conclude he acted in any federal role. See generally New York

v. Fried, 897 F. Supp. 669, 670 (N.D.N.Y. 1995) (“[Defendant] has failed to

submit any evidence along with the instant petition for removal which

demonstrates that he has been performing work for the federal government either

as its employee or at its request”).2 Here, Defendant was simply the nominated

elector for the losing presidential candidate, taking direction from the failed

candidate’s campaign—a status that affords no removal protection.


2       The mere assertion that a person is acting as a federal officer is insufficient to justify
removal absent some evidentiary basis. See generally Honeywell Int’l, Inc., 2023 U.S. Dist.
LEXIS 155502 (rejecting removal where Defendants failed to establish they “acted under” a
federal officer); Swanstrom v. Teledyne Cont’l Motors, Inc., 531 F. Supp. 2d 1325, 2008 U.S.
Dist. LEXIS 24020 (S.D. Ala. 2008) (airplane manufacturer unable to establish legitimate basis
for federal officer removal because it did not establish that it was designated in any manner as
representative of FAA or to act on the agency’s behalf in performing official duties).



                                                12
          Case 1:23-cv-03720-SCJ Document 7 Filed 09/07/23 Page 14 of 29




         Repeated invocations to “precedent” allegedly set in Hawaii during the 1960

presidential election misses the mark by a wide margin. See [Doc. 1], 8-9; [Doc. 1-

4] (affidavit of Todd Zywicki3). First, and this principle hardly seems necessary to

explain, actions that did not result in prosecution 60 years ago—in a different

jurisdiction, with different election code and criminal statutes, presided over by

different prosecuting agencies, and with differing substantive evidence of criminal

intent—provides zero protection for Defendant Shafer and his co-defendants who

conspired to advance the 2020 fraudulent elector scheme in Georgia.

         Second, the factual situations are so readily distinguishable as to make the

comparison meaningless. In 1960, by the December 19 date by which the Hawaii

electors met, the Republican slate of electors had been certified by the Governor

based on the initial tally of votes but due to the close margin of less than 150 votes,

an official recount was ongoing. In the present case, when Defendant Shafer and

the other fraudulent electors met, two recounts had already been completed, each of

which confirmed a margin of victory for then-candidate Biden of thousands of

votes.

3       The State objects to the relevance of the affidavit of Mr. Zywicki insofar as it offers an
interpretation of Georgia law and any legal opinion. The Court has the responsibility of
determining the relevant facts and applying the applicable law, and those straightforward tasks
would hardly benefit from the parties parading in untold numbers of experts with varying
degrees of qualification and credibility to opine on the issues before the Court.



                                                 13
         Case 1:23-cv-03720-SCJ Document 7 Filed 09/07/23 Page 15 of 29




       Additionally, in Hawaii, when the recount resolved in the Democratic

candidate’s favor (President John F. Kennedy) on December 28, and only after a

court affirmed the process, the Governor of Hawaii re-certified the election and

appointed the Democratic slate of electors.4 Ex. 6 (Hawaii re-certification). It was

this official certification of the Democratic electors that was counted in the

Electoral College tally on January 6, 1961. Defendant and the other fraudulent

electors had no such official stamp of approval. Their losing effort was never

reversed by a recount, never subjected to the supervision of any court, never

certified by the Governor, and never sent through official channels to the Senate.

Instead, it was used to further a clumsy but relentless pressure campaign on the

Vice President and state legislatures, and as a means to publicly undermine the

legitimate results of the presidential election. There is no guiding precedent here.

       2. Presidential electors perform a federal function through the exercise
          of State authority and are not federal officials themselves.

        An even more fundamental shortcoming with Defendant’s position is that

even the genuine presidential electors sanctioned by the State based on a certified




4      While the Zywicki affidavit refers to an attached exhibit (Exhibit B) that includes the
referenced Hawaii certification documents, no exhibits were electronically filed or otherwise
served on counsel for the State. See [Doc. 1-4], 8 (¶ 12).

                                                14
        Case 1:23-cv-03720-SCJ Document 7 Filed 09/07/23 Page 16 of 29




election are State actors, not federal, and well outside the scope of appropriate

federal removal. As the United States Supreme Court has noted:

      [T]he presidential electors exercise a federal function in balloting for
      President and Vice-President but they are not federal officers or
      agents any more than the state elector who votes for congressmen.
      They act by authority of the state that in turn receives its authority from
      the Federal Constitution.

Ray v. Blair, 343 U.S. at 224-25 (emphasis added); see also Chiafalo v.

Washington, __ U.S. __, 140 S. Ct. 2316, 2324-25 (2020) (citing Ray, accepting

that electors are state actors, and finding no constitutional prohibition on states

imposing penalties for faithless electors).

      Defendant’s particular standing as a fraudulent elector—uncertified and

unofficial with no state or federal authority—makes a detailed exploration into the

history and evolution of presidential electors largely unnecessary for the issue

before the Court; it is enough to note that it has long been recognized that:

      The sole function of the presidential electors is to cast, certify and
      transmit the vote of the State for President and Vice President of the
      nation. Although the electors are appointed and act under and
      pursuant to the Constitution of the United States, they are no more
      officers or agents of the United States than are the members of the
      state legislatures when acting as electors of federal senators, or the
      people of the States when acting as electors of representatives in
      Congress.

In re Green, 134 U.S. 377, 379-80 (1890) (emphasis added); see also Walker v.

United States, 93 F.2d 383, 388 (8th Cir. 1937) (“It is contended by defendants

                                          15
        Case 1:23-cv-03720-SCJ Document 7 Filed 09/07/23 Page 17 of 29




that presidential electors are officers of the state and not federal officers. We are of

the view that this contention is sound and should be sustained.” (citation omitted)).

Instead, the Constitution provides those presidential electors act under State

authority. Ray, 343 U.S. at 224-25. And while Article II and the Twelfth

Amendment give States broad power over electors, those provisions give electors

themselves no rights. Chiafalo, 140 S. Ct. at 2328.

      3. Defendant was not acting at the behest of any federal official
         performing an official function; the evidence shows at most he was a
         political actor serving a campaign function.

       Defendant argues to this Court that, even if he were not a federal official in

his own right, he was acting at the behest of then-President Trump and his

campaign, and that translates into federal officer status for his actions. [Doc. 1],

19. But even accepting Defendant’s representation that his intent was to assist the

then-President (and now co-defendant) Trump in employing the fraudulent elector

scheme in states across the country, that would be assisting Trump in his personal

capacity as a candidate, not as President. As the testimony already before this

Court has demonstrated, the then-President had no authority whatsoever to direct

action of State certification or administration of electors. Ex. 5 (Removal Hrg. Tr.

at 189, State of Georgia v. Mark Meadows 1:23-CV-03621-SCJ (N.D. Ga. Aug.

28, 2023)) (testimony of Secretary of State Brad Raffensperger). The litigation


                                           16
        Case 1:23-cv-03720-SCJ Document 7 Filed 09/07/23 Page 18 of 29




brought in Fulton County Superior Court that Defendant and his co-defendants

were trying to advance was brought—and could only have been brought—by

Trump as an individual candidate and the Trump campaign, not Trump in his

official role as President. See DONALD J. TRUMP, in his capacity as Candidate

for President, DONALD J. TRUMP FOR PRESIDENT, INC., and DAVID

SHAFER, in his capacity as a registered voter and Presidential Elector pledged to

DONALD TRUMP for President. v. Raffensperger et al., Case No. 2020CV343255

(Fulton Cty. Super. Ct.). The facts simply do not support that Defendant acted

under the direction of any federal official in an official capacity.

      While the phrase “acting under” is broad and Courts will “liberally construe”

this portion of § 1442(a)(1), the criteria still has meaning. Watson v. Philip Morris

Cos., 551 U.S. 142, 147 (2007). Even that deferential standard cannot

accommodate a private person working to assist a political campaign. A “private

person’s ‘acting under’ must involve an effort to assist, or to help carry out, the

duties or tasks of the federal superior.” Watson, 551 U.S. at 152 (emphasis in

original; citations omitted). In other words, the private person must help federal

officers fulfill a basic governmental task that the government otherwise would

have had to perform. Id. at 153-54 (emphasis added). Defendant’s notice




                                           17
        Case 1:23-cv-03720-SCJ Document 7 Filed 09/07/23 Page 19 of 29




articulates no theory of the “basic governmental task” that was fulfilled by his

impersonation of a genuine presidential elector certified by the State of Georgia.

      The reason why Defendant identifies no governmental task his legally

fictitious status as a “contingent elector” assisted with is because there was none—

his actions as charged were to advance the purely personal and political goals of

securing a second term for his preferred presidential candidate, an undertaking

decidedly outside the scope of any required governmental task. Indeed, Defendant

claims he was seeking to safeguard litigation remedies in a case in which he was a

plaintiff. Federal law and regulations explicitly separate campaign activities from

that of the government itself, making campaign work performed at the behest of a

federal official outside the scope of federal removal. See 5 U.S.C. §§ 7323(a),

7324(a) (prohibiting government employees from engaging in partisan political

activity). Defendant could not have been acting to assist or carry out campaign

functions of a federal official that are entirely outside the scope of any legitimate

federal function. Because the first requirement of removal is unmet, the inquiry

can end here.

       B. Nor Has Defendant Demonstrated That He Has Been Charged “For
          [Or Relating To] Any Act Under Color Of Such Office.”

      Defendant offers a scant justification for his claim that his participation in

this criminal conspiracy to overturn the 2020 presidential election connected in any

                                          18
        Case 1:23-cv-03720-SCJ Document 7 Filed 09/07/23 Page 20 of 29




way with a legitimate federal officer role for obvious reasons. [Doc. 1], 21-22.

“The phrase ‘relating to’ . . . requires only a ‘connection’ or ‘association’ between

the act in question and the federal office.” Caver v. Cent. Ala. Elec. Coop., 845

F.3d 1135, 1144 (11th Cir. 2017) (internal citations omitted). While not a

particularly high hurdle, the caselaw is clear that “[n]ot every act of or on behalf of

a federal officer is an act under color of office.” People v. Trump, 2023 U.S. Dist.

LEXIS 124733, at *20 (S.D.N.Y. July 19, 2023). “[T]he person seeking the

benefit of [federal officer removal] should be candid, specific and positive in

explaining his relation to the transaction growing out of which he has been

indicted, and in showing that his relation to it was confined to his acts as an

officer.” Colorado v. Symes, 286 U.S. 510, 520 (1932) (emphasis added).

Defendant Shafer offers no such connection to legitimate federal functions.

      As discussed above, “contingent electors” are not electors at all, and even

genuine presidential electors are explicitly not federal officers. To the extent

Defendant contends that he and his co-defendants were directed to act by then-

President Trump in his official capacity, that representation (1) has no factual

support and (2) cannot survive the slightest scrutiny. Defendant points to

communication with only unnamed “attorneys” for Trump and the State

Republican party advising on campaign litigation, with no federal connection at all.


                                          19
        Case 1:23-cv-03720-SCJ Document 7 Filed 09/07/23 Page 21 of 29




[Doc. 1], 19. Shafer has produced no evidence of any communication or direction

from any federal official acting within the scope of any federal function, and

cannot satisfy even the low burden of demonstrating that impersonating

presidential electors was connected to any federal officer’s duties.

      Reliance on Trump the candidate provides no support; the law recognizes

that even a president is not entitled to immunity for “unofficial acts grounded

purely in the identity of his office.” Clinton v. Jones, 520 U.S. 681, 693

(1997). There is an “outer perimeter” to a president’s legitimate federal function

beyond which he engages in private conduct, and personal campaign activity

surely falls into that private activity outside a president’s legitimate federal

function. Id.; see also Trump v. Vance, ___ U.S. ___, 140 S. Ct. 2412, 2429

(2020) (a president’s personal papers are distinct from official documents and not

entitled to the heightened showing required for a subpoena). Employing an

analysis that considered “the relationship of the challenged conduct to the claimed

corresponding function of the President,” another federal court has already found

that Trump’s acts of “direct outreach to state election officials” were “not official

acts.” Thompson v. Trump, 590 F. Supp. 3d 46, 82-83 (D.D.C. 2022). Similarly,

Defendant’s false representation that he and the other losing nominated electors

were “duly elected and qualified,” along with the attempt to have the votes of the


                                           20
        Case 1:23-cv-03720-SCJ Document 7 Filed 09/07/23 Page 22 of 29




losing slate counted in the Electoral College “do not relate to [the President’s]

duties of faithfully executing the laws, conducting foreign affairs, commanding the

armed forces, or managing the Executive Branch.” Id. at 84. “They entirely

concern his efforts to remain in office for a second term.” Id.

      Further, “a sitting President is prescribed no role” in the election of a

president. Id. at 77. While the Constitution and the Electoral Count Act specify

the duties of various officials in Congress and at the state level, there is no role

whatsoever for the president to play in any State’s presidential election

certification process, and thus there is no authority that Defendant can cite to claim

his activities were taken “under color of office,” even if done at the behest of the

then-president. See id. at 77-78. Just as Defendant has failed to satisfy the federal

official requirement, this removal inquiry should end for the independent reason

that he has not satisfied the second requirement for removal.

       C. Defendant Has No Colorable Federal Defense

      As Defendant failed to satisfy either of the first two Section 1442(a) criteria,

he likewise falls short of the third benchmark. To remove a case under Section

1442, a defendant also must raise a “colorable federal defense.” Mesa v.

California, 489 U.S. 121, 136 (1989). In the context of removal, “colorable”

means “plausible.” Magnin v. Teledyne Cont’l Motors, 91 F.3d 1424, 1427 (11th


                                           21
        Case 1:23-cv-03720-SCJ Document 7 Filed 09/07/23 Page 23 of 29




Cir. 1996). Defendant offers several supposed available federal defenses, none of

which have any applicably to the pending charges because as a losing nominated

presidential elector, he had no federal role to carry out. [Doc. 1], 22-30.

      First, Supremacy Clause immunity is plainly out of Defendant’s reach, as it

requires him to show both that he was performing “an act which he was authorized

to do by the law of the United States” and, in performing that authorized act, “he

did no more than what was necessary and proper for [him] to do.” In re Neagle,

135 U.S. 1, 75 (1890). In this Circuit, a defendant’s claim of Supremacy Clause

immunity is negated by evidence that the individual acted out of “personal interest,

malice, actual criminal intent, or for any other reason than to do [their] duty as

[they] saw it.” Baucom v. Martin, 677 F.2d 1346, 1350 (11th Cir. 1982).

      Defendant, of course, had no federal duty. The fact that he and the other

fraudulent electors pretended to be duly elected and qualified confers no federal

official standing whatsoever, and no federal action to be protected with immunity.

The activities in which he and his co-defendants conspired were all “unofficial”

activities concerning campaign litigation and Trump’s efforts to remain in office

for a second term, and there is no federally protected authority for a president or

anyone acting on his behalf to take any actions concerning the administration of a

presidential election under either the Constitution or federal law. A claim of


                                          22
        Case 1:23-cv-03720-SCJ Document 7 Filed 09/07/23 Page 24 of 29




immunity for unofficial acts cannot be “grounded purely in the identity of [the

President’s] office.” Clinton, 520 U.S. at 695. Additionally, accepting

Defendant’s claim that he sought only to secure a remedy in litigation, it was his

own litigation, meaning that his activities were by definition motivated by personal

interests.

       Next, Defendant’s perfunctory assertion of a preemption defense likewise

fails. Shafer points to the Electoral Count Act’s contemplation of “purported

electors” competing with certified electors, but does nothing to grapple with the

State’s unquestionable ability to determine which electors are authorized to submit

votes. Ray, 343 U.S. at 224-25; Chiafalo, __ U.S. __, 140 S. Ct. 2316, 2324-25

(states have wide latitude to govern selection and obligations of presidential

electors). When courts consider issues that arise under the Supremacy Clause

(i.e., preemption issues), they start with the assumption that the historic police

powers of the States are not superseded by federal law unless preemption is the

clear and manifest purpose of Congress. Cliff v. Payco Gen. Am. Credits, Inc., 363

F.3d 1113, 1121-22 (11th Cir. 2004) (citing Rice v. Santa Fe Elevator Corp., 331

U.S. 218, 230 (1947)). Again, there was no federal role inherent in Defendant’s




                                          23
         Case 1:23-cv-03720-SCJ Document 7 Filed 09/07/23 Page 25 of 29




impersonation of a presidential elector. As such, Defendant makes no showing

that federal law preempts the State charges he faces.5

       Similarly, there is no demonstrable basis for federal authority related to

Defendant’s actions, and there is ample evidence of personal, political, and

unofficial intentions and activities—all of which make the cursory claims of other

federal defenses unavailable. The First Amendment provides no protection from

criminal liability in this instance, when the underlying speech is false. See

generally Bill Johnson’s Rests, Inc. v. NLRB, 461 U.S. 731, 743 (1983) (“Just as

false statements are not immunized by the First Amendment right to freedom of

speech, baseless litigation is not immunized by the First Amendment right to

petition.” (internal citation omitted)). And while Defendant may certainly have a

right to petition the government for redress, he has no right to present documents

making false representations of fact, such that a due process defense is even

arguably available. See Ex. 4 (Fraudulent Certificate representing the losing

candidate’s nominated electors were “duly elected and qualified electors”).

Defendant raises no colorable federal defense to the crimes charged.


5       The State notes that Defendant has filed a 52-page notice of removal. See [Doc. 1].
Without prior authorization by this Court, a functional brief of this length appears inconsistent
with Local Rule 7.1(D). Should the Court find it necessary or helpful for the State to more
fulsomely address Defendant’s preemption arguments, see [Doc. 1] at 33-40, the State
respectfully requests an opportunity for supplemental briefing.


                                                24
         Case 1:23-cv-03720-SCJ Document 7 Filed 09/07/23 Page 26 of 29




        D. Defendant’s Demand For Habeas Corpus Relief Under 28 U.S.C.
           § 2241 and/or Injunctive Relief

        This Court’s August 29, 2023 Order finding summary remand unavailable

and setting an evidentiary hearing in this matter specifically reserves consideration

of Shafer’s insistence that the Supremacy Clause bars the indictment or the Court’s

jurisdiction to enter his requested relief to dismiss the pending criminal charges.

[Doc. 4], 10 n.4. The State’s position is that (1) none of the relief requested has

been justified with legal or factual basis,6 (2) Defendant Shafer cannot meet the

Section 1442 requirements, and consequently subject matter in this Court is not

warranted, and (3) until this Court makes a determination on removal, it is

premature to consider whether Defendant’s state court remedies have been

exhausted. See generally Taylor v. Sec’y Fla. Dep’t. of Corr., 760 F.2d 1284, 1294

(11th Cir. 2014). Given Shafer’s argument on these points takes up a significant

portion of his 52-page Notice of Removal, and the State is limited in this response


6       See generally 28 U.S.C. § 2283 (the Anti-Injunction Act) and prohibition against
enjoining state court proceedings, unless the injunction falls within one of [the] three
specifically defined exceptions.” Atl. C. L. R.R. Co. v. Bhd. of Locomotive Eng’rs, 398 U.S.
281, 286 (1970); Tokyo Gwinnett, LLC v. Gwinnett Cty., 940 F.3d 1254, 1267 (11th Cir. 2019)
(the Younger v. Harris, 401 U.S. 37 (1971) decision spawned the famed Younger abstention
doctrine, which “requires a federal court to abstain where a plaintiff’s federal claims could be
adjudicated in a pending state judicial proceeding” (internal quotation marks and citation
omitted; emphasis added); see Younger, 401 U.S. at 45 (requiring “[t]he accused [to] first set up
and rely upon his defense in the state courts, even though this involves a challenge of the
validity of some statute, unless it plainly appears that this course would not afford adequate
protection” (internal quotation marks omitted; citation omitted)).

                                                25
        Case 1:23-cv-03720-SCJ Document 7 Filed 09/07/23 Page 27 of 29




to 25 pages, the State respectfully requests supplemental briefing on the issues

raised if and only if the Court accepts subject matter jurisdiction.

                                  CONCLUSION

     As the losing presidential candidate’s nominated elector acting in furtherance

of campaign (and personal) litigation and a wide-ranging plot to subvert the 2020

election, Defendant had no federal role standing alone or as an agent of any actual

federal officer. His actions and that of his co-defendants had no relation to the

“color of federal office” of any actor—instead, he pursued a course of conduct as a

private citizen, political ally, and co-conspirator. Defendant has failed to support

any of the requirements to satisfy removal pursuant to Section 1442(a), and his

effort to remove should be denied.

      Respectfully submitted, this 7th day of September 2023.


                                                            FANI T. WILLIS
                                                      DISTRICT ATTORNEY
                                                 ATLANTA JUDICIAL CIRCUIT

                                                               /s/ Anna Green Cross
                                                                  Anna Green Cross
                                                                   Special Prosecutor
                                                             Atlanta Judicial Circuit
                                                            Georgia Bar No. 306674
                                                    136 Pryor Street SW, Third Floor
                                                             Atlanta, Georgia 30303
                                                            anna@crosskincaid.com


                                          26
Case 1:23-cv-03720-SCJ Document 7 Filed 09/07/23 Page 28 of 29




                                              F. McDonald Wakeford
                               Chief Senior Assistant District Attorney
                                               Atlanta Judicial Circuit
                                             Georgia Bar No. 414898
                                     136 Pryor Street SW, Third Floor
                                              Atlanta, Georgia 30303
                             Fmcdonald.wakeford@fultoncountyga.gov




                              27
        Case 1:23-cv-03720-SCJ Document 7 Filed 09/07/23 Page 29 of 29




                      CERTIFICATE OF COMPLIANCE

      The undersigned counsel hereby certifies that this pleading complies with

the Local Rules of this Court, including Local Rules 5.1(C) and 7.1(D) in that it is

double-spaced and composed in 14-point Times (New Roman font.

      This 7th day of September 2023.

                                                              /s/ Anna Green Cross
                                                                 Anna Green Cross
                                                                  Special Prosecutor
                                                             Atlanta Judicial Circuit
                                                            Georgia Bar No. 306674




                                         28
